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           IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                     DALLAS DIVISION


PATRICK HENRY MURPHY JR.             §
                                     §
                 Petitioner,         §
                                     §
                                     §
          -vs-                       § CIVIL NO. 3:09-cv-01368-L
                                     §
                                     § *DEATH PENALTY CASE*
                                     §
LORIE DAVIS, Director,               §
Texas Department of Criminal Justice,§
Correctional Institutions Division,  §
                                     §
                 Respondent.         §

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 REPLY TO RESPONDENT’S RESPONSE IN OPPOSITION TO
     MOTION TO ALTER OR AMEND THIS COURT’S
MEMORANDUM OPINION AND ORDER DENYING RELIEF ON
  MURPHY’S PETITION FOR A WRIT OF HABEAS CORPUS
               ______________________________


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PATRICK HENRY MURPHY JR.             §
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               ______________________________

     In her Response in Opposition, Respondent mischaracterizes

Murphy’s claim. This mischaracterization is significant, and it is the

same mischaracterization committed by both the Magistrate in his

findings and this Court in adopting the Magistrate’s findings and

conclusions. Specifically, Murphy’s claim is not that his being convicted


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of capital murder violated Tison. Murphy’s claim (which is the same

now as it was when he raised it as the eighteenth claim in his direct

appeal brief) is that Tison requires that for a person to be eligible for

death, he had to have knowingly engaged in some activity; however, the

verdict form presented to Murphy’s jury did not require the jurors to

make this finding.

      While Murphy in no way concedes that Respondent is correct that

the Fifth Circuit’s opinion in Williams v. Thaler, 602 F.3d 291 (5th Cir.

2010), effectively held that motions filed pursuant to Rule 59(e) are to

be reviewed under all the same rules as those filed pursuant to Rule

60(b), Response at 10, even if that were the case, Murphy’s claim is not

a successive petition.1 Murphy’s motion does not attack this Court’s

ruling on the merits of his claim. Rather, Murphy’s motion alleges the

Court erred in not addressing the merits of his claim because the Court

and the Magistrate misconstrued his claim.

                     Conclusion and Prayer for Relief

      WHEREFORE, Mr. Murphy prays that this Court:

      1.     Withdraw the portion of its March 31, 2017 memorandum

1The holding in Williams seems to be limited to mandating that new claims raised in a
motion filed pursuant to Rule 59(e) be construed as successive. Murphy’s motion contains
no new claim.


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           opinion and order finding Murphy’s first claim is
           procedurally barred;

     2.    Find Murphy’s claim is exhausted and procedurally viable;

     3.    Withdraw the alternative merits holding for which the Court
           offered no explanation;

     4.    Address the merits of Murphy’s claim; and

     5.    Grant such other relief as law and justice require.


                         Respectfully submitted,

                            s/ David R. Dow
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                         Certificate of Service

      I certify that June 1, 2017, a copy of the foregoing pleading was
electronically served on counsel for the Respondent by filing the
document with the Clerk of the Court for the U.S. District Court,
Northern District of Texas, using the electronic case filing system of the
court.

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                                              s/ David R. Dow
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